   Case 21-30589-MBK                 Doc 2640       Filed 07/01/22 Entered 07/01/22 13:28:32                      Desc Main
                                                  Document      Page 1 of 3



         UNITED STATES BANKRUPTCY COURT
         DISTRICT OF NEW JERSEY
         WOLLMUTH MAHER & DEUTSCH LLP                                                    Order Filed on July 1, 2022
         Paul R. DeFilippo, Esq.                                                         by Clerk
         500 Fifth Avenue                                                                U.S. Bankruptcy Court
         New York, New York 10110                                                        District of New Jersey
         Telephone: (212) 382-3300
         Facsimile: (212) 382-0050
         pdefilippo@wmd-law.com
         JONES DAY
         Gregory M. Gordon, Esq.
         Brad B. Erens, Esq.
         Dan B. Prieto, Esq.
         Amanda Rush, Esq.
         2727 N. Harwood Street
         Dallas, Texas 75201
         Telephone: (214) 220-3939
         Facsimile: (214) 969-5100
         gmgordon@jonesday.com
         bberens@jonesday.com
         dbprieto@jonesday.com
         asrush@jonesday.com
         (Admitted pro hac vice)
         ATTORNEYS FOR DEBTOR
         In re:                                                          Chapter 11
         LTL MANAGEMENT LLC, 1                                           Case No.: 21-30589
                                     Debtor.                             Judge: Michael B. Kaplan
                                                                         Hearing Date and Time:
                                                                         July 26, 2022 at 10:00 a.m.

                    AGREED ORDER EXTENDING DEADLINE FOR WRITTEN
              SUBMISSIONS RELATED TO CERTAIN INSURERS’ LIFT STAY MOTIONS

                           The relief set forth on the following pages is hereby ORDERED.




DATED: July 1, 2022




     1
                  The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is
                  501 George Street, New Brunswick, New Jersey 08933.

     NAI-1531944056
Case 21-30589-MBK           Doc 2640      Filed 07/01/22 Entered 07/01/22 13:28:32                     Desc Main
                                        Document      Page 2 of 3



 (Page 2)
 Debtor: LTL Management LLC
 Case No. 21-30589-MBK
 Caption: Agreed Order Extending Deadline for Written Submissions Related to Certain
 Insurers’ Lift Stay Motions


                  The Court having entered the Order Adjourning Matters [Dkt. 2609] (the

 “Adjournment Order”) on June 27, 2022; pursuant to the Adjournment Order, the New Jersey

 Coverage Action Plaintiff-Insurers’ Motion for an Order (I) Confirming that the Automatic Stay

 Does Not Apply to the New Jersey Coverage Action or, in the Alternative, (II) Granting Relief

 from the Automatic Stay to Allow the New Jersey Coverage Action to Proceed [Dkt. 1491] (the

 “Plaintiff-Insurers’ Motion”), and Travelers Casualty and Surety Company’s Motion for an

 Order Granting Relief From the Automatic Stay to Allow the NJ Coverage Action to Proceed

 [Dkt. 1488] (together with the Plaintiff-Insurers’ Motion, the “Motions”) having been further

 adjourned until a hearing on July 26, 2022; and the Plaintiff-Insurers, Travelers, the Debtor and

 the Official Committee of Talc Claimants (the “Talc Committee”) having agreed to amend the

 deadline set forth in the Amended Order Regarding Motions of New Jersey Coverage Action

 Plaintiff-Insurers and Travelers Casualty and Surety Company to Allow New Jersey Coverage

 Action to Proceed [Dkt. 2424] (the “Agreed Order”) 2 for filing written submissions in

 connection with the Motions in light of the further adjournment of the Motions;

                  IT IS HEREBY ORDERED THAT:

                  1.      Notwithstanding paragraph 2 of the Agreed Order, on or before July 19,

 2022 at 5:30 p.m. (prevailing Eastern time), each of the Debtor, the Talc Committee, the

 Plaintiff-Insurers, and Travelers is authorized (but not required) to file with the Court a written

 submission to address whether the Court should take further action with respect to the Motions


 2
         Capitalized terms not otherwise defined herein shall have the meanings given to them in the Agreed Order.

 NAI-1531944056
Case 21-30589-MBK        Doc 2640     Filed 07/01/22 Entered 07/01/22 13:28:32               Desc Main
                                    Document      Page 3 of 3



 (Page 3)
 Debtor: LTL Management LLC
 Case No. 21-30589-MBK
 Caption: Agreed Order Extending Deadline for Written Submissions Related to Certain
 Insurers’ Lift Stay Motions


 and the automatic stay; provided, however, that the parties are not required to submit any

 additional briefing.

                  2.    The Court shall retain jurisdiction over all matters arising out of or related

 to the implementation, interpretation or enforcement of this Order.




 NAI-1531944056
